                       Case 1:21-cr-00281-JEB Document 1 Filed 01/20/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                     Jordan T Revlett                                )      Case No.
                                                                     )
                                                                     )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. 1752(a)(1)-(2) - Unlawful Entry on Restricted Grounds
             40 U.S.C. 5104(e)(2)(D) and (G) - Violent Entry or Disorderly Conduct




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                    Lynda W. Thomas, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                              2021.01.20
                                                                                                              14:55:44 -05'00'
Date:             01/20/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                            Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                       _
                                                                                               Printed name and title
